                   Case 21-30653-lkg      Doc 17      Filed 05/11/22       Page 1 of 2




                       IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE SOUTHERN DISTRICT OF ILLINOIS

In the matter of                        ) IN PROCEEDINGS UNDER CHAPTER 7
                                        )
JONNA JUNE L. ROLLA,                    ) No. 21-30653
                                        )
        Debtor,                         )

      NOTICE OF FILING OF MOTION TO REOPEN CHAPTER 7 PROCEEDINGS

        Notice is hereby given that Debtor filed a Motion to Re-Open Chapter 7 Proceedings.

        Any objection to the modification must be filed on or before June 1, 2022. If no timely
response is filed, an order allowing the relief sought shall be entered.

        If a timely objection is filed, a hearing will be scheduled accordingly.


                                        /s/ KARL J. WULFF
                                        __________________________________
                                        KARL J. WULFF, A.R.D.C. # 6244158.
                                        KATZ & WULFF, P.C.
                                        Attorney for the Debtor
                                        430 Regency Centre
                                        Collinsville, Illinois 62234
                                        618/345-6966
                                        618/345-0705 FAX
                                        kjwulff@katzandwulff.com
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In the matter of                       ) IN PROCEEDINGS UNDER CHAPTER 7
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JONNA JUNE L. ROLLA,                   ) No. 21-30653
                                       )
        Debtor,                        )

                                  CERTIFICATE OF SERVICE

        The undersigned, Karl J. Wulff, attorney for Debtor(s), hereby certifies that the foregoing

document was mailed to all creditors of record not being electronically served, and to the Debtor(s),
on this 11th day of May, 2022 with the correct postage prepaid and deposited in the U.S. Mail in

Collinsville, Illinois.

Jonna Miller nee Rolla
1329 Bossler Lane
O’Fallon, IL 62269

AND TO ALL INTERESTED PARTIES WHO WERE NOT SERVED ELECTRONICALLY

on this 11th day of May, 2022, with the correct postage prepaid and deposited in the U.S. Mail in

Collinsville, Illinois.



                                       /s/ KARL J. WULFF
                                       __________________________________
                                       KARL J. WULFF, A.R.D.C. # 6244158.
                                       KATZ & WULFF, P.C.
                                       Attorney for the Debtor
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